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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
DARYL THOMAS AGNEW, et al.,         )
                                    )
                  Plaintiffs,       )
                                    )
      v.                            )             Civil Action No. 15-0340 (ABJ)
                                    )
GOVERNMENT OF THE                   )
DISTRICT OF COLUMBIA,               )
                                    )
                  Defendant.        )
____________________________________)

                                          ORDER

      Pursuant to Federal Rules of Civil Procedure 12 and 58, and for the reasons stated in the

accompanying memorandum opinion, it is hereby

      ORDERED that defendant’s motion to dismiss the third amended complaint [Dkt. # 37]

is GRANTED.

      This is a final appealable order.

      SO ORDERED.




                                           AMY BERMAN JACKSON
                                           United States District Judge

DATE: June 26, 2017
